      Case 2:18-cr-00014-LGW-BWC Document 482 Filed 10/24/18 Page 1 of 2



                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF GEORGIA
                              BRUNSWICK DIVISION

UNITED STATES OF AMERICA,                   *

       Plaintiff,                           *

vs.                                         *         CASE NO.: 2:18-CR-014

JOSEPH SIMMONS, et al.,                     *

       Defendant.                           *

                       MOTION FOR PERMISSION TO TRAVEL

       COMES NOW Joseph Simmons and shows the Court that he is currently on a

bond that confines him to the Southern District of Georgia. However, he is losing the

use of his right hand and he has an appointment at Mayo Clinic in Jacksonville, Florida

at 8:45 a.m. on November 7, 2018 for tests to diagnose and initiate treatment.

       WHEREFORE, Joseph Simmons asks permission to travel to Mayo Clinic in

Jacksonville, Florida on November 7, 2018, specifically for his medical appointments.

       Respectfully submitted this 24th day of October, 2018.



                                         /s/ Fred R. Kopp____________________
                                         FRED R. KOPP
                                         Attorney for Defendant Simmons
                                         Georgia Bar No.: 428310
                                         P. O. Box 785
                                         Alma, Georgia 31510
                                         (912) 632-6812
                                         (912) 632-7900 (fax)
                                         fred@fredkopplaw.com
     Case 2:18-cr-00014-LGW-BWC Document 482 Filed 10/24/18 Page 2 of 2



                                   CERTIFICATE OF SERVICE

       This is to certify that I have this day served all the parties in this case in

accordance with the notice of electronic filing which was generated as a result of

electronic filing in this Court.

       This 24th day of October, 2018.




                                           By: /s/ Fred R. Kopp
                                           Fred R. Kopp
                                           Attorney for Joseph Simmons
                                           P. O. Box 785
                                           Alma, GA 31510
                                           (912) 632-6812
                                           GA Bar No. 428310
